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                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,           )
                                    )               Case No. CR-08-220-E-BLW
           Plaintiff,               )
                                    )               ORDER ADOPTING
      v.                            )               REPORT AND
                                    )               RECOMMENDATION
JORGE LUIS MARTIN-RAMIREZ,          )
                                    )
           Defendant.               )
 ___________________________________)

      The Court has before it a Report and Recommendation filed by the United

States Magistrate Judge. (Docket No. 110). On October 28, 2009, Defendant

Jorge Luis Martin-Ramirez appeared before the Magistrate Judge to enter a change

of plea pursuant to a written plea agreement. The Magistrate Judge conducted the

plea hearing and concluded there is a factual basis for Defendant’s plea of guilty

to the charges contained in Count One of the Superseding Information (Docket

No. 105), and that it was entered voluntarily and with full knowledge of the

consequences. No objections to the Report and Recommendation have been filed.

      The Court now has reviewed the record, and finds that the requirements of

Rule 11 have been met. See United States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir.

2003). Specifically, the Court finds that the Magistrate Judge adhered to the


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requirements of Rule 11(b); that under Rule 11(b)(2), the Defendant’s plea was

voluntary and not the result of force or threats or promises apart from the plea

agreement; and that a factual basis for the plea exists. See id. Accordingly,

      NOW THEREFORE IT IS HEREBY ORDERED that the Report and

Recommendation (Docket No. 110) shall be, and the same is hereby, ADOPTED

as the decision of the District Court and incorporated fully herein by reference.

      IT IS FURTHER ORDERED that the Defendant’s plea of guilty to the

crimes charged in Count One of the Superseding Information (Docket No. 105),

shall be, and the same is hereby, ACCEPTED by the Court as a knowing and

voluntary plea supported by an independent basis in fact containing each of the

essential elements of the offense.

      IT IS FURTHER ORDERED that Defendant Jorge Luis Martin-Ramirez is

found to be GUILTY as to the applicable crimes charged in the Superseding

Information (Docket No. 105).

                                       DATED: November 17, 2009



                                       B. LYNN WINMILL
                                       Chief Judge
                                       United States District Court




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